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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
ROADGET BUSINESS PTE. LTD.,
Plaintiff,

Vv.

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)
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)
)
)
THE INDIVIDUALS, CORPORATIONS,) Civil Action No. 1:24-cv-1088
LIMITED LIABILITY COMPANIES, )
PARTNERSHIPS, AND )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE A )
)
)
)

HERETO,
Defendants.

ORDER

THIS MATTER comes before the Court on Defendant Shenzhen
Chenhong Technology Co., Ltd.’s ("“SZCH”) Motion to Dismiss
pursuant to Fed. R. Civ. P. 12(b) (5), or alternatively, to
Compel Arbitration and Stay the Action.

It appearing to the Court that Defendant SZCH has been
properly served pursuant to Fed. R. Civ. P. 4(£) (3) in
compliance with this Court’s August 6, 2024 Order and that SZCH
has failed to meet its burden to compel arbitration under the
Federal Arbitration Act, it is hereby

ORDERED that Defendant’s Motion to Dismiss is DENIED; it is
further

ORDERED that Defendant's Motion to Compel Arbitration and

Stay the Action is DENIED.
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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
i. October 32. , 2024 | ceecnnntnn amon

